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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MONTANA
                                 BILLINGS DIVISION

UNITED STATES OF AMERICA,           )               Cause No. CR-03-80-BLG-RFC
                                    )
            Plaintiff,              )
                                    )
v.                                  )                      ORDER
                                    )
JOSE ARTURO TENORIO,                )
                                    )
            Defendant.              )
____________________________________)

       This Court sentenced Defendant to a term of 120 months imprisonment in July of 2004.

This sentence was rendered pursuant to the United States Sentencing Guidelines, which at the

time were mandatory. Subsequently, the United States Supreme Court has held that the Federal

Sentencing Guidelines are advisory. United States v. Booker, 125 S.Ct. 738, 764 (2005). On

April 21, 2006, the Ninth Circuit remanded Defendant’s sentence for reconsideration in light of

Booker and Ameline.

       Pursuant to United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005), this Court must

determine “whether the sentence imposed would have been materially different had the district

court known that the Guidelines were advisory.” Id. at 1084-85.




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        In this instance, after reviewing the record, the Court answers the question in the

negative-- Defendant Tenorio’s sentence would not have been materially different had it known

that the Guidelines were advisory.

        Under United States v. Mix, ____ F.3d ____, 2006 WL 1549737 (9th Cir. 2006), this

Court is required, in fashioning a reasonable sentence to conduct parallel analysis – first

employing the Guidelines, and then considering the non-guideline sentencing factors under §

3553(a). Pursuant to this directive, the Court concludes that the Guidelines do adequately take

account of the § 3553(a) sentencing factors. Therefore, the Court determines that resentencing

Defendant Tenorio is unwarranted as his sentence would not materially differ under the advisory

guideline regime.

        Moreover, Defendant Tenorio, in his response to the Court, acknowledged that his

sentence would not be affected under the advisory holding of Booker.

        DATED this 21st day of June, 2006.


                                              _/s/ Richard F. Cebull______________
                                              RICHARD F. CEBULL
                                              U.S. DISTRICT JUDGE

CERTIFICATE OF SERVICE
DATE: 6/21/06
BY: _____________________
I hereby certify that a copy of
this Order was served upon:
James Obie
Marcia Hurd




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